 Case 2:22-cv-00293-JRG            Document 279 Filed 12/14/23               Page 1 of 4 PageID #:
                                            16273


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

NETLIST, INC.,                                   )
                                                 )
                Plaintiff,                       )
                                                 )    Case No. 2:22-cv-293-JRG
        vs.                                      )
                                                 )    JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.;                   )    (Lead Case)
SAMSUNG ELECTRONICS AMERICA,                     )
INC.; SAMSUNG SEMICONDUCTOR                      )
INC.,                                            )
                                                 )
                Defendants.                      )

NETLIST, INC.,                                   )
33                                               )
            Plaintiff,                           )
                                                 )
        vs.                                      )    Case No. 2:22-cv-294-JRG
                                                 )
MICRON TECHNOLOGY, INC.;                         )    JURY TRIAL DEMANDED
MICRON SEMICONDUCTOR                             )
PRODUCTS, INC.; MICRON                           )
TECHNOLOGY TEXAS LLC,                            )
                                                 )
                Defendants.                      )

       NETLIST, INC.’S MOTION TO EXPEDITE BRIEFING ON NETLIST’S
 MOTION TO COMPEL MICRON DEFENDANTS TO DE-DESIGNATE PORTIONS
         OF DEPOSITION TRANSCRIPT OF SCOTT CYR (DKT. 274)

        Pursuant to Local Rule CV-7(e), Plaintiff Netlist Inc. (“Netlist”) respectfully files this motion

to expedite briefing on Netlist’s Motion to Compel Micron Defendants to De-Designate Portions of

Deposition Testimony of Scott Cyr filed on December 13, 2023. Dkt. 274 (“Motion to De-designate”).

The Motion was filed on Wednesday December 13, and Netlist requests that Micron’s response be

due on Tuesday, December 19, 2023.

        Netlist’s Motion narrowly asked Micron to de-designate certain portions of testimony given

by Micron’s corporate representatives on the general state of art relating to Netlist’s patents asserted
 Case 2:22-cv-00293-JRG            Document 279 Filed 12/14/23               Page 2 of 4 PageID #:
                                            16274


in this Action. Netlist requested the de-designation of such testimony to be submitted as evidence in

connection with defendants Micron and Samsung’s joint IPR proceeding as to the asserted U.S. Patent

No. 7,619,912 (“the ’912 patent”) (IPR2022-00615). During the lead-to-lead meet and confer, Micron

refused to provide any basis on which the testimony should be designated other than it does not want

the testimony used in the IPR proceeding. Micron has acknowledged that it can file a response earlier

than the current two week deadline but is refusing to do so.

        An expedited briefing schedule is necessary in light of the current schedule of the IPR

proceedings. Specifically, the PTAB instituted the review of the ’912 patent on June 7, 2023. Netlist

submitted the Patent Owner Response on August 10, 2023. The PTAB has set an oral argument on

the ’912 patent for January 31, 2024.

        After Netlist submitted its Response, Micron offered its corporate representative Mr. Scott

Cyr for deposition on November 20, 2023, where Mr. Cyr offered testimony inconsistent with

Micron’s IPR positions. The day after the deposition, on November 21, Netlist requested PTAB for

leave to submit portions of Mr. Cyr’s deposition as supplemental information in the IPR relating to

the ’912 patent. Ex. 1 at 1 (11-22-2023 email to PTAB from Jonathan Lindsay) (requesting “a

conference call with the Board to seek leave to move to admit testimony given by Micron’s designated

corporate representative in district court proceedings on the ’912 patent that is highly material to, and

inconsistent with, positions taken by the Petitioners before the PTAB.”).

        While Netlist’s request is still pending, the PTAB has set an oral argument on the ’912 patent

for January 31, 2024. Because the window for the Board to consider the information is closing quickly,

Netlist hereby moves for an expedited briefing schedule on the motion to designate so that Micron’s

response motion is due December 19, 2023.




                                                  -2-
Case 2:22-cv-00293-JRG     Document 279 Filed 12/14/23         Page 3 of 4 PageID #:
                                    16275


Dated: December 14, 2023             Respectfully submitted,

                                     /s/ Jason G. Sheasby
                                     Jason G. Sheasby

                                     Samuel F. Baxter
                                     Texas State Bar No. 01938000
                                     sbaxter@mckoolsmith.com
                                     Jennifer L. Truelove
                                     Texas State Bar No. 24012906
                                     jtruelove@mckoolsmith.com

                                     MCKOOL SMITH, P.C.
                                     104 East Houston Street Suite 300
                                     Marshall, TX 75670
                                     Telephone: (903) 923-9000
                                     Facsimile: (903) 923-9099

                                     Jason G. Sheasby (pro hac vice)
                                     jsheasby@irell.com
                                     Annita Zhong, Ph.D. (pro hac vice)
                                     hzhong@irell.com
                                     Andrew J. Strabone (pro hac vice)
                                     astrabone@irell.com
                                     Thomas C. Werner (pro hac vice)
                                     twerner@irell.com
                                     Yanan Zhao (pro hac vice)
                                     yzhao@irell.com
                                     Michael W. Tezyan (pro hac vice)
                                     mtezyan@irell.com

                                     IRELL & MANELLA LLP
                                     1800 Avenue of the Stars, Suite 900
                                     Los Angeles, CA 90067
                                     Tel. (310) 277-1010
                                     Fax (310) 203-7199

                                     Philip Warrick
                                     New York Bar No. 4471413
                                     pwarrick@irell.com

                                     IRELL & MANELLA LLP
                                     750 17th Street NW, Suite 850
                                     Washington, DC 20006
                                     Tel. (310) 777-6512
                                     Fax (310) 317-7252




                                     -3-
 Case 2:22-cv-00293-JRG          Document 279 Filed 12/14/23              Page 4 of 4 PageID #:
                                          16276



                                                Attorneys for Plaintiff Netlist, Inc.


                             CERTIFICATE OF CONFERENCE

       I hereby certify that, on December 8, 2023, Micron refused to agree to a definitive date for

expedited briefing.

                                                      /s/ Jason Sheasby
                                                      Jason Sheasby

                                CERTIFICATE OF SERVICE

       I hereby certify that, on December 14, 2023, a copy of the foregoing was served to all counsel

of record of Micron defendants via the Court’s CM/ECF System.

                                                      /s/Yanan Zhao
                                                      Yanan Zhao




                                               -4-
